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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ALAIN MICHAEL,
individually and on behalf                            )
of all others similarly situated,                     )
                                                      )
        Plaintiff,                                    )       Case No.
                                                      )
        v.                                            )
                                                      )
FAIRLIFE, LLC, MIKE MCCLOSKEY,                        )
and SUE MCCLOSKEY                                     )
                                                      )
        Defendants.                                   )

                                    CLASS ACTION COMPLAINT

        Plaintiff Alain Michael (“Plaintiff”), through his undersigned attorneys, McMorrow Law,

P.C. and Bursor & Fisher, P.A., brings this Class Action Complaint against Defendants Fairlife,

LLC, Mike McCloskey, and Sue McCloskey (collectively, the “Defendants”), individually and on

behalf of all others similarly situated, and complains and alleges upon personal knowledge as to

himself and his own acts and experiences, and, as to all other matters, upon information and belief,

including investigation conducted by his attorneys:

                                     NATURE OF THE ACTION

        1.      Fairlife and its two co-founders, Mike and Sue McCloskey, charge a premium for

their Milk Products1 by plastering their “promise” – in bold lettering signed by Mike and Sue


1
 Milk Products refers to every variety and size of milk products sold by Defendant Fairlife, LLC
nationwide, in all sizes, as described herein, with the exception of the Fairlife Yup!, Core Power,
and Smart Snacks milk brands. Milk Products includes, but is not limited to, Fairlife Whole with
DHA ultra-filtered milk, Fairlife Chocolate Whole with DHA ultra-filtered milk, Fairlife 2%
Reduced Fat with DHA ultra-filtered milk, Fairlife Whole ultra-filtered milk, Fairlife 2% Reduced
Fat ultra-filtered milk, Fairlife Chocolate 2% Reduced Fat ultra-filtered milk, Fairlife 1% Reduced
Fat ultra-filtered milk, and Fairlife Fat Free ultra-filtered milk. The labels of the varieties of the
Milk Products are substantially identical other than their flavor and fat content profile, and each
contain the false representations discussed herein.
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McCloskey, on the Products’ labels – that Fairlife provides “Extraordinary care and comfort

for our cows” and “provide[s] extraordinary animal care.” They “promise” on the Products’

labels that “exceptional care [is] taken every step of the way” and that, through selling their Milk

Products, they are “making the world a better place.” Right on the Products’ labels, they urge

customers to “visit our flagship farm in Indiana so you can see for yourself” the “[e]xtraordinary

care and comfort” that their cows receive.2 But Fairlife’s and its founders’ “promise” is a sham.

Their cows do not receive “extraordinary care and comfort.” As a matter of routine and practice,

Fairlife’s cows are tortured, kicked, stomped on, body slammed, stabbed with steel rebar, thrown

off the side of trucks, dragged through the dirt by their ears, and left to die unattended in over 100-

degree heat. Calves that do not survive the torture are dumped in mass graves. To add insult to

injury, the abuse is rampant even at Fairlife’s “flagship farm in Indiana” that customers are urged

to visit on the Products’ labels.

       2.      Plaintiff and the class members he seeks to represent purchased numerous bottles

of Defendants’ Milk Products based on Defendants’ misleading and false advertising and labeling

of the Milk Products. Plaintiff and each of the class members accordingly suffered an injury in

fact caused by the false, fraudulent, unfair, deceptive, and/or misleading practices set forth herein.

       3.      Plaintiff seeks relief in this action individually, and on behalf of all purchasers of

Defendant’s Milk Products, for Defendants’ fraud, negligent misrepresentation, unjust enrichment,

and violations of various state consumer protection laws discussed herein.3



2
  Collectively, these representations are referred to as the “Animal Welfare Claims.”
3
  Plaintiff reserves the right to add additional claims, including a claim for breach of express and
implied warranties. On June 11, 2019, Plaintiff sent a notice letter by certified mail notifying
Defendants of their breach of express and implied warranties regarding the Animal Welfare
Claims. However, Plaintiff does not presently allege a cause of action for breach of warranty so
that Defendants have sufficient time to respond to the notice letter pursuant to the relevant rules
regarding notice.


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                                  JURISDICTION AND VENUE

        4.       This Court has original jurisdiction over this controversy pursuant to 28 U.S.C. §

1332(d), Plaintiff’s claims and the claims of the other members of the Class exceed $5,000,000

exclusive of interest and costs, and there are numerous Class members who are citizens of states

other than Defendants’ states of citizenship.

        5.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1)-(2) and (c)

because a substantial part of the events or omissions giving rise to Plaintiff and the Class’s claims

occurred in this District and because Defendants transact business and/or have agents within this

District.

                                             PARTIES

        6.       Plaintiff Alain Michael is a citizen of California, residing in Thousand Oaks,

California. Within the past two years, Mr. Michael purchased Defendant’s Milk Products from

Sprouts in California. Mr. Michael purchased Fairlife Chocolate 2% Reduced Fact ultra-filtered

milk in various sizes, including 11.5 ounces and 1.5 liters. Prior to purchasing the Products, Mr.

Michael reviewed the Milk Products’ labels and relied on the following Animal Welfare Claims

on the Products’ labels:

        1.5 Liter Label:

             •   “our promise”

             •   “The idea for this one-of-a-kind milk began at our kitchen table over
                 20 years ago. It was an ambition to provide the world with better
                 nutrition while making the world a better place. Our fairlife®
                 family farmers provide high quality, real milk, filtered for
                 wholesome nutrition with exceptional care taken every step of the
                 way.”

             •   “Extraordinary care and comfort for our cows”

             •   “We’d love to have you visit our flagship farm in Indiana so you can
                 see for yourself!”



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            •   The “Mike & Sue McCloskey” signature, with “fairlife® co-
                founders, dairy farmers” just below it.

       11.5 Ounce Label:

            •   “our promise”

            •   “We provide extraordinary animal care, and we can trace our milk back to the
                family farms that produced it, so you can confidently enjoy every sip.”

            •   The “Mike & Sue McCloskey” signature, with “fairlife® co-founders, dairy
                farmers” just below it.

       7.       In reliance on these representations, Mr. Michael paid a tangible increased cost for

Defendants’ Milk Products, which were worth less than represented because the statements were

not true and were highly misleading. Accordingly, these representations were part of the basis of

the bargain, in that Mr. Michael attributed value to these promises and would not have purchased

the Products, or would not have purchased them on the same terms, if he knew the truth about

Defendants’ torture and abuse of their milk cows.         Should Mr. Michael encounter any of

Defendants’ Milk Products in the future, he cannot rely on the truthfulness of the labels’

statements, absent corrective advertising. If Defendants take corrective action of their treatment

of cows and correct the Products’ labels, Mr. Michael would consider buying the current

formulations of the Products, as he is a regular milk purchaser.

       8.       Defendant Fairlife, LLC (“Fairlife”) is a Delaware corporation headquartered in

Chicago, Illinois, at 1001 W Adams St., Chicago, IL 60607.               Defendant Fairlife, LLC

manufactures, advertises, sells, distributes, and markets the Milk Products as alleged herein

nationwide, including in Illinois and California. Defendant Fairlife, LLC’s misleading marketing,

advertising, and labeling information concerning its “promise” and purported “extraordinary”

treatment of its cows (and all other relevant labeling statements) were conceived, reviewed,

approved, and otherwise controlled from Fairlife, LLC’s Illinois headquarters. Fairlife, LLC’s

misleading marketing of its Milk Products was coordinated at, and emanated from, and was


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developed at its Illinois headquarters. All critical decisions regarding the misleading labeling and

marketing of the Milk Products were made in Illinois.

       9.      Defendants Mike McCloskey and Sue McCloskey are the co-founders of Defendant

Fairlife, LLC and remain involved in integral day-to-day decision-making concerning the

marketing and labeling of the Milk Products. Defendants Mike McCloskey and Sue McCloskey

make personal appearances on behalf of Fairlife, LLC throughout the United States, including in

Illinois. Defendants Mike McCloskey and Sue McCloskey have continuous and pervasive contacts

with the State of Illinois. Individually, or acting in concert with Fairlife, LLC, Defendants Mike

McCloskey and Sue McCloskey are engaged in and direct the labeling, marketing, advertising,

sale, promotion, and distribution of the Milk Products. Defendants Mike McCloskey and Sue

McCloskey, individually or acting in concert with Fairlife, LLC, also have direct control and

oversight over Defendants’ treatment of cows at their various farms throughout the country,

including at the “flagship” Indiana farm referenced on the Products’ labels. Defendants Mike

McCloskey and Sue McCloskey also act as spokespersons for the Products, and make a personal

“promise,” signed under their own names, on the Products’ labels concerning each of the

fraudulent and misleading statements at issue in this action, including the promise that Defendants

provide “extraordinary care and comfort for [their] cows.” Defendants Mike McCloskey and Sue

McCloskey have promoted the misleading labeling at issue here on Fairlife, LLC’s website and on

Fairlife, LLC’s social media platforms.

       10.     At all relevant times, each Defendant acted in concert with, with the knowledge and

approval of and/or as the agent of the other Defendants within the course and scope of the agency,

regarding the acts and omissions alleged.




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                     FACTS COMMON TO ALL CAUSES OF ACTION

       Consumers Are Willing To Pay A Price Premium For Animal Welfare Claims

       11.     In recent years, meat and dairy manufacturers have begun making animal welfare

claims on product labels to drive more sales, or to justify charging higher prices. The reasoning is

simple: consumers deeply care whether their food comes from animals that were humanely treated

and received a high level of care and are willing to pay a price premium for food sourced from

humane farms. Defendants made the Animal Welfare Claims for this reason – to charge inflated

prices and increase unit sales of their Milk Products.

       12.     For instance, a recent survey from Technomic and the American Society for the

Prevention of Cruelty to Animals (“ASPCA”) found that: (1) 77 percent of consumers are

concerned about animal welfare as it applies to their food, (2) more than two thirds of consumers

pay some or a lot of attention to food labels regarding how the animal was raised, and (3) that over

70 percent of retailers stocking products with humane claims report increased sales.4

       13.     In 2015, Wal-Mart, the nation’s largest seller of food products, found through its

own research that: (1) 77 percent of shoppers said they will increase their trust in a retailer that

improves the treatment of livestock and that (2) 66 percent would increase their likelihood of

shopping at a retail location that improves the treatment of livestock.5

       14.     In 2014, the American Humane Association conducted a national survey of 5,900

consumers that found that: (1) 94.9 percent of consumers were “very concerned about farm animal

welfare,” that (2) 75.7 percent of consumers “stated that they were very willing to pay more for




4
  See https://www.grocerydive.com/news/grocery--consumers-are-willing-to-pay-a-premium-for-
animal-welfare-certifications/533852/ (last accessed 6/10/2019).
5
  See https://foxbaltimore.com/news/local/wal-mart39s-push-on-animal-welfare-hailed-as-game-
changer (last accessed 6/10/2019).


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humanely raised meat, dairy and eggs,” and that (3) a “humanely raised” label was ranked highest

in importance over other common heath claims, such as “antibiotic free,” “organic,” or “natural.”6

       15.       In an aided question, consumers responding to a survey conducted for Demeter

Communications’ 2010 SegmenTrak study were asked to consider what they would like to know

from farmers about food production that they currently do not know. More than two thirds (68

percent) indicated they wanted to know more about ways farmers “ensure animal care,” second

only to “measures used to produce safe food.”7

       16.       In 2010, a study published in the Universities Federation for Animal Welfare found

that “consumers desire high standards of animal care, even if it raises food prices.”8

     Defendants Made Animal Welfare Claims A Central Tenet Of Products’ Labeling

       17.       Defendants preyed on consumer desire for dairy products sourced from farms that

ensure high levels of animal welfare by making Animal Welfare Claims a central tenet of their

labeling campaign. Defendants did so while systematically abusing and torturing their dairy cows.

       18.       Defendants make virtually identical Animal Welfare Claims on every label of their

Milk Products.

       19.       An example of a 1.5 Liter label of the Milk Products is displayed below. All

versions of 1.5 Liter labels of the Milk Products, including the 1.5 Liter Milk Products purchased

by Plaintiff, are substantively identical to the image depicted below:




6
  See https://www.americanhumane.org/app/uploads/2016/08/2014-humane-heartland-farm-
survey.pdf (last accessed 6/10/2019).
7
  See http://demetercommunications.com/wp-
content/uploads/2011/05/FINAL.Demeter.SegemenTrak.Full_Report.June2010.pdf (last
accessed 6/10/2019).
8
  See https://www.ingentaconnect.com/contentone/ufaw/aw/2010/00000019/00000003/art00015
(last accessed 6/10/2019).


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 20.    The label states:

 OUR PROMISE

 The idea for this one-of-a-kind milk began at our kitchen table over 20 years
 ago. It was an ambition to provide the world with better nutrition while
 making the world a better place. Our fairlife® family farmers provide high
 quality, real milk, filtered for wholesome nutrition while making the world
 a better place. Our fairlife® family farmers provide high quality, real milk,
 filtered for wholesome nutrition with exceptional care taken every step of
 the way.



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    •    Extraordinary care and comfort for our cows
    •    Exceptional quality milk standards
    •    Traceability back to our farms
    •    Continual pursuit of sustainable farming

         We’d love to have you visit our flagship farm in Indiana so you can see for
         yourself!

         Mike & Sue McCloskey

         fairlife® co-founders, dairy farmers (emphasis in original)

         21.    Just below the co-founders’ signatures, the label displays an image of the “flagship

farm in Indiana,” where animal abuse at issue here was rampant.

         22.    An example of a 11.5 ounce label of the Milk Products is displayed below. All

versions of 11.5 ounce labels of the Milk Products, including the 11.5 ounce Milk Products

purchased by Plaintiff, are substantively identical to the image depicted below:




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       23.     The label states:

       OUR PROMISE

       We provide extraordinary animal care, and we can trace our milk back to
       the family farms that produced it, so you can confidently enjoy every sip.

       Mike & Sue McCloskey

       fairlife® co-founders, dairy farmers (emphasis in original)

       24.     Just below the co-founders’ signatures, the label displays an image of the “flagship

farm in Indiana,” where animal abuse at issue here was rampant.

       25.     Defendants make an explicit “promise,” in large bold lettering, even on the smaller

11.5 ounce labels of the Milk Products, that they provide “extraordinary animal care” or

“extraordinary care and comfort for our cows” (on the 1.5 Liter labels). The “promise” is signed

on the Milk Products’ labels by Defendants Mike McCloskey and Sue McCloskey. However, as

discussed herein, Defendants’ “promise” is a farce.          Defendants’ cows do not receive

“extraordinary care,” but are rather systematically abused and tortured.

                        Defendants’ Animal Welfare Claims Are False

       26.     As discussed above, the labels of the 1.5 Liter Milk Products urge consumers to

“visit our flagship farm in Indiana so you can see for yourself” the purported “extraordinary care

and comfort for our cows.” Between August and November 2018, Animal Recovery Mission

(“ARM”), a nonprofit animal welfare group, had an investigator do just that – pay a visit to

Defendants’ flagship farm in Indiana to see how the cows are really treated.

       27.     An ARM employee went undercover as a calf care employee at Fair Oaks Farms,

Defendants’ “flagship farm in Indiana” mentioned on the Milk Products’ labels, between August

and November of 2018. During that time, the ARM employee videotaped systematic and horrific

abuse of Defendants’ cows at their “flagship farm.” Videos released by ARM documenting

Defendants’ systematic abuse of their cows can be found at https://vimeo.com/340292407 (4-


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minute video) (last accessed 6/11/2019) and https://vimeo.com/340769169 (one-and-a-half-hour

video) (last accessed 6/11/2019).

       28.       ARM’s undercover employee reported (and recorded) observing the following

abuses “on a virtually daily basis”:

             •   Slapping, kicking, punching, pushing, throwing and slamming calves;

             •   Calves stabbed and beaten with steel rebar;

             •   Calves hit in the mouth and face with hard plastic milking bottles;

             •   Calves kneed in the spine;

             •   Calves subjected to extreme temperatures;

             •   Calves provided with improper nutrition;

             •   Calves denied medical attention; and

             •   Calves experiencing extreme pain and suffering, and in some cases permanent

                 injury and death.

       29.       At Defendants’ “flagship farm,” the calves stay in filthy, overcrowded and hot

conditions. Temperature readings show that it can be well over 100 degrees inside their hutches.

Dead calves were dumped in mass grave sites by employees.9

       30.       Supervisors and owners at the “flagship farm” were aware of the conditions and

took part in the abuse.10

       31.       In addition to the intense, systematic maltreatment and abuse of calves, the

“flagship farm” provides effectively no treatment or care to mature, sick, or injured cows. Cows

too sick to milk are shot with a small caliber weapon. Because the employees are not properly


9
  See https://www.cbsnews.com/news/after-undercover-video-exposes-animal-abuse-at-fair-oaks-
farms-grocery-store-removes-products/ (last accessed 6/11/2019).
10
   See id.


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trained, however, cows are left to die slow, painful deaths over the course of many hours from

gunshot wounds to the head.11

       32.     The following images are a true representation of the “care” that Defendants’ cows

actually receive:

                                Dumping Area For Dead Calves




                                Dead Calves Being Transported




11
  See https://animalrecoverymission.org/wp-
content/uploads/2019/06/Operation_Fair_Oaks_Farms_Dairy_Adventure.pdf (last accessed
6/11/2019).


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                     Calf’s Head Being Stomped On By Full Weight Of Adult Man




                      Calves Left Throughout Summer In 113 Degree Temperature




Defendants Admit That The Animal Abuse Practices Took Place At Their “Flagship Farm”

       33.     After the release of the ARM video, Defendant Mike McCloskey admitted that

everything depicted in the video actually occurred at Defendants’ “flagship farm.”

       34.     Defendant Mike McCloskey admitted that “after closely reviewing the released

ARM video,” he can confirm that employees at Fair Oaks Farm – the “flagship farm” – were

“committing multiple instances of animal cruelty and despicable judgment.” Defendant Mike

McCloskey stated that he “take[s] full responsibility for the actions seen in the footage, as it goes




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against everything that we stand for in regards to responsible cow care and comfort.” 12 (emphasis

added). In other words, while the labels of Defendants’ Milk Products promised “Extraordinary

care and comfort for our cows,” Defendant Mike McCloskey admits that Defendants have failed

to live up to that standard by “committing multiple instances of animal cruelty and despicable

judgment.”        Nonetheless, although Defendant Mike McCloskey stated he took “full

responsibility,” he then went on to excuse the animal abuse by blaming a few bad apples, even

though the abuse was rampant and known and approved by management.

          35.    In a video posted to Defendant Fairlife, LLC’s website, Defendant’s Chief

Operating Officer Tim Doelman issued a public statement on behalf of Defendant Fairlife, LLC:

          This week we saw appalling footage of animal abuse at Fair Oaks Farms,
          one of Fairlife’s supplying dairy farms. This was something that never
          should have happened. It was wrong. Animal care is foundational to
          Fairlife. We have a responsibility to make sure that the dairy farms that
          supply our milk uphold the highest and most humane standards. We failed
          in doing that, and we are truly sorry. But sorry is not good enough, we offer
          you a commitment to improving practices that we now know were
          insufficient.13

          36.    Mr. Doelman also admitted in the video that Fairlife conducted only one

purportedly unannounced audit per year of its dairy farms.

                                   CLASS REPRESENTATIONS

          37.    Plaintiff Michael brings this case as a class action under Federal Rule of Civil

Procedure 23(b)(2) and (b)(3) on behalf of the below-defined Classes:

          National Class: All persons in the United States that purchased the Milk Products.




12
     See https://fofarms.com/post/response/ (last accessed 6/11/2019).
13
     See https://fairlife.com/news/fairlife-statement-regarding-arm-video/ (last accessed 6/11/2019).


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       Consumer Fraud Multi-State Subclass: All persons in the states of California, Florida,

       Illinois, Massachusetts, Michigan, Minnesota, Missouri, New Jersey, New York, and

       Washington that purchased the Milk Products.14

       California Subclass: All persons in the state of California that purchased the Milk

       Products.

       38.     Collectively, the National Class, Consumer Fraud Multi-State Subclass, and

California Subclass are referred to as the “Class” or “Classes.” Excluded from the Class are

Defendants, the officers and directors of the Defendants at all relevant times, members of their

immediate families and their legal representatives, heirs, successors or assigns and any entity in

which Defendants have or had a controlling interest. Any judge and/or magistrate judge to whom

this action is assigned and any members of such judges’ staffs and immediate families are also

excluded from the Class. Also excluded from the Class are persons or entities that purchased the

Milk Products for purposes of resale.

       39.     Plaintiff is a member of the Classes.

       40.     Defendants sell millions of containers of the Milk Products. The Milk Products are

available in major supermarkets nationwide, including in California and Illinois. Accordingly,

members of the Class are so numerous that their individual joinder herein is impracticable. The

precise number of Class members and their identities are unknown to Plaintiff at this time but may

be determined through discovery. Class members may be notified of the pendency of this action



14
  The states in the Consumer Fraud Multi-State Class are limited to those states with similar
consumer fraud laws under the facts of this case: California (Cal. Bus. & Prof. Code § 17200, et
seq.); Florida (Fla. Stat. § 501.201, et seq.); Illinois (815 Ill. Comp. Stat. 505/1, et seq.);
Massachusetts (Mass. Gen. Laws Ch. 93A, et seq.); Michigan (Mich. Comp. Laws § 445.901, et
seq.); Minnesota (Minn. Stat. § 325F.67, et seq.); Missouri (Mo. Rev. Stat. §407.010, et seq.);
New Jersey (N.J. Stat. § 56:8-1, et seq.); New York (N.Y. Gen. Bus. Law §§ 349, 350 et seq.);
and Washington (Wash. Rev. Code § 19.86.010, et seq.).


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by mail and/or publication through the distribution records of Defendants, third party retailers, and

vendors.

       41.     Common questions of law and fact exist as to all Class members and predominate

over questions affecting only individual Class members. Common legal and factual questions

include, but are not limited to, whether the Milk Products are misbranded, and whether the

labeling, marketing and promotion of the Milk Products is false, misleading, and fraudulent.

       42.     The claims of the named Plaintiff are typical of the claims of the Class in that the

named Plaintiff was exposed to Defendants’ false, misleading and misbranded labels, purchased

the Milk Products, and suffered losses as a result of those purchases.

       43.     Plaintiff is an adequate representative of the Class because his interests do not

conflict with the interests of the Class members he seeks to represent, he has retained competent

counsel experienced in prosecuting class actions, and he intends to prosecute this action

vigorously. The interests of Class members will be fairly and adequately protected by Plaintiff

and his counsel.

       44.     The class mechanism is superior to other available means for the fair and efficient

adjudication of the claims of the Class members. Each individual Class member may lack the

resources to undergo the burden and expense of individual prosecution of the complex and

extensive litigation necessary to establish Defendants’ liability. Individualized litigation increases

the delay and expense to all parties and multiplies the burden on the judicial system presented by

the complex legal and factual issues of this case. Individualized litigation also presents a potential

for inconsistent or contradictory judgments. In contrast, the class action device presents far fewer

management difficulties and provides the benefits of single adjudication, economy of scale, and

comprehensive supervision by a single court on the issue of Defendants’ liability. Class treatment




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of the liability issues will ensure that all claims and claimants are before this Court for consistent

adjudication of the liability issues.

                                             COUNT I

                                               Fraud

        45.     Plaintiff repeats the allegations contained in the paragraphs above as if fully set

forth herein.

        46.     Plaintiff brings this claim individually and on behalf of the members of the Classes

against Defendants.

        47.     As discussed above, Defendants made false and misleading Animal Welfare Claims

on the labels of the Milk Products, and failed to disclose material information facts about the Milk

Products, such as the fact that the milk is derived from cows that are systematically abused and

tortured.

        48.     The misrepresentations and omissions made by Defendants, upon which Plaintiff

and Class members reasonably and justifiably relied, were intended to induce and actually induced

Plaintiff and Class members to purchase the Milk Products.

        49.     The fraudulent actions of Defendants caused damage to Plaintiff and Class

members, who are entitled to damages and other legal and equitable relief as a result.

                                            COUNT II

                            Violation of Illinois Consumer Fraud Act

        50.     Plaintiff repeats the allegations contained in the paragraphs above as if fully set

forth herein.

        51.     Plaintiff brings this claim individually and on behalf of the members of the Classes

against Defendants.



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        52.     The Illinois Consumer Fraud and Deceptive Business Practices Act (“ICFA”), 815

ILCS 505/1, et seq., prohibits the use of unfair or deceptive business practices in the conduct of

trade or commerce. The ICFA is to be liberally construed to effectuate that purpose.

        53.     Defendants intended that Plaintiff and each of the members of the Classes would

rely upon their deceptive conduct, including the Animal Welfare Claims, and a reasonable person

would in fact be misled by this deceptive conduct.

        54.     As a result of Defendants’ use or employment of unfair or deceptive acts or business

practices, Plaintiff and each of the other members of the Classes sustained damages in an amount

to be proven at trial.

        55.     In addition, Defendants’ conduct showed malice, motive, and the reckless disregard

of the truth such that an award of punitive damages is appropriate.

                                           COUNT III

                            Violation Of State Consumer Fraud Acts

        56.     Plaintiff repeats the allegations contained in the paragraphs above as if fully set

forth herein.

        57.     Plaintiff brings this claim individually and on behalf of the members of the

Consumer Fraud Multi-State Subclass against Defendants.

        58.     The Consumer Fraud Acts of the states in the Consumer Fraud Multi-State

Subclass15 prohibit the use of unfair or deceptive business practices in the conduct of trade or

commerce.



15
   California (Cal. Bus. & Prof. Code § 17200, et seq.); Florida (Fla. Stat. § 501.201, et seq.);
Illinois (815 Ill. Comp. Stat. 505/1, et seq.); Massachusetts (Mass. Gen. Laws Ch. 93A, et seq.);
Michigan (Mich. Comp. Laws § 445.901, et seq.); Minnesota (Minn. Stat. § 325F.67, et seq.);
Missouri (Mo. Rev. Stat. § 407.010, et seq.); New Jersey (N.J. Stat. § 56:8-1, et seq.); New York


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       59.      Defendants intended that Plaintiff and each of the other members of the Consumer

Fraud Multi-State Subclass would rely upon their deceptive conduct, including the Animal Welfare

Claims, and a reasonable person would in fact be misled by this deceptive conduct.

       60.      Since Defendants’ conduct showed malice, motive, and the reckless disregard of

the truth, an award of punitive damages is appropriate.

                                           COUNT IV

                  Violation Of California’s Consumers Legal Remedies Act,

                              California Civil Code §§ 1750, et seq

                                     (Injunctive Relief Only)

       61.      Plaintiff repeats the allegations contained in the paragraphs above as if fully set

forth herein.

       62.      Plaintiff brings this claim individually and on behalf of the members of the

proposed California Subclass against Defendants.

       63.      Plaintiff and California Subclass members are consumers who purchased the Milk

Products for personal, family or household purposes. Plaintiff and the California Subclass

members are “consumers” as that term is defined by the CLRA in Cal. Civ. Code § 1761(d).

Plaintiff and the California Subclass members are not sophisticated experts with independent
knowledge of the standard of animal care on dairy farms, or Defendant’s animal care practices.

       64.      The Milk Products that Plaintiff and other California Subclass members purchased

from Defendants were “goods” within the meaning of Cal. Civ. Code § 1761(a).

       65.      Defendants’ actions, representations, and conduct have violated, and continue to

violate the CLRA, because they extend to transactions that intended to result, or which have

resulted in, the sale of goods to consumers.




(N.Y. Gen. Bus. Law §§ 349, 350, et seq.); and Washington (Wash. Rev. Code § 19.86.010, et
seq.).


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        66.     Defendants’ Animal Welfare Claims on the labels of the Milk Products are false,

fraudulent, and/or misleading to a reasonable consumer because Defendants’ cows are subjected

to systematic abuse and torture.

        67.     California’s Consumers Legal Remedies Act, Cal. Civ. Code § 1770(a)(5),

prohibits “[r]epresenting that goods or services have sponsorship, approval, characteristics,

ingredients, uses, benefits, or quantities which they do not have or that a person has a sponsorship,

approval, status, affiliation, or connection which he or she does not have.” By engaging in the

conduct set forth herein, Defendants violated and continue to violate Section 1770(a)(5) of the

CLRA, because Defendants’ conduct constitutes unfair methods of competition and unfair or

fraudulent acts or practices, in that they misrepresent the particular characteristics, benefits and

quantities of the goods.

        68.     Cal. Civ. Code § 1770(a)(7) prohibits representing that goods or services are of a

particular standard, quality, or grade, or that goods are of a particular style or model, if they are of

another. By engaging in the conduct set forth herein, Defendants violated and continue to violate

Section 1770(a)(7) of the CLRA, because Defendants’ conduct constitutes unfair methods of

competition and unfair or fraudulent acts or practices, in that they misrepresent the particular

standard, quality or grade of the goods.

        69.     Cal. Civ. Code § 1770(a)(9) further prohibits “[a]dvertising goods or services with
intent not to sell them as advertised.” By engaging in the conduct set forth herein, Defendants

violated and continue to violate Section 1770(a)(9), because Defendants’ conduct constitutes

unfair methods of competition and unfair or fraudulent acts or practices, in that they advertise

goods with the intent not to sell the goods as advertised.

        70.     Plaintiff and the California Subclass acted reasonably when they purchased the

Milk Products based on their belief that Defendants’ representations were true and lawful.

        71.     Plaintiff and the California Subclass suffered injuries caused by Defendants

because: (a) they would not have purchased the Milk Products on the same terms absent
Defendants’ illegal and misleading conduct as set forth herein, or if the true facts were known


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concerning Defendants’ representations; (b) they paid a price premium for the Milk Products due

to Defendants’ misrepresentations; and (c) the Milk Products did not have the characteristics or

quantities as promised.

       72.      Under California Civil Code § 1780(a), Plaintiff and members of the California

Subclass seek injunctive and equitable relief for Defendants’ violations of the CLRA. Plaintiff

has mailed an appropriate demand letter consistent with California Civil Code § 1782(a). If

Defendants fail to take corrective action within 30 days of receipt of the demand letter, Plaintiff

will amend his complaint to include a request for damages as permitted by Civil Code § 1782(d).


                                            COUNT V

                      Violation Of California’s Unfair Competition Law,

                   California Business & Professions Code §§ 17200, et seq.

       73.      Plaintiff repeats the allegations contained in the paragraphs above as if fully set

forth herein.

       74.      Plaintiff brings this claim individually and on behalf of the members of the

proposed California Subclass against Defendants.

       75.      Defendant is subject to California’s Unfair Competition Law, Cal. Bus. & Prof.

Code §§ 17200, et seq. The UCL provides, in pertinent part: “Unfair competition shall mean and

include unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue or
misleading advertising ….”

       76.      Defendants’ Animal Welfare Claims on the labels of the Milk Products are false,

fraudulent, and misleading to a reasonable consumer because Defendants’ cows are subjected to

systematic abuse and torture.

       77.      Defendants’ business practices, described herein, violated the “unlawful” prong of

the UCL by violating the CLRA and the FAL and other applicable law as described herein.

       78.      Defendants’ business practices, described herein, violated the “unfair” prong of the
UCL in that Defendants’ conduct is substantially injurious to consumers, offends public policy,



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and is immoral, unethical, oppressive, and unscrupulous, as the gravity of the conduct outweighs

any alleged benefits. Defendants’ advertising is of no benefit to consumers, as it is untrue,

misleading, and unlawful. Creating consumer confusion regarding the Animal Welfare Claims is

of no benefit to consumers.

       79.      Defendants violated the “fraudulent” prong of the UCL by misleading Plaintiff and

the California Subclass to believe that the Animal Welfare Claims were true.

       80.      Plaintiff and the California Subclass members are not sophisticated experts with

independent knowledge of the standard of animal care on dairy farms, or Defendants’ animal care

practices. Plaintiff and the California Subclass acted reasonably when they purchased the Milk

Products based on their belief that Defendants’ representations were true and lawful.

       81.      Plaintiff and the California Subclass suffered injuries caused by Defendants

because: (a) they would not have purchased the Milk Products on the same terms absent

Defendants’ illegal and misleading conduct as set forth herein, or if the true facts were known

concerning Defendants’ representations; (b) they paid a price premium for the Milk Products due

to Defendants’ misrepresentations; and (c) the Milk Products did not have the characteristics or

quantities as promised.


                                           COUNT VI

                       Violation Of California’s False Advertising Law,
                   California Business & Professions Code §§ 17500, et seq.

       82.      Plaintiff repeats the allegations contained in the paragraphs above as if fully set

forth herein.

       83.      Plaintiff brings this claim individually and on behalf of the members of the

proposed California Subclass against Defendants.

       84.      California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et seq.,

makes it “unlawful for any person to make or disseminate or cause to be made or disseminated
before the public in this state, ... in any advertising device ... or in any other manner or means



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whatever, including over the Internet, any statement, concerning ... personal property or services,

professional or otherwise, or performance or disposition thereof, which is untrue or misleading

and which is known, or which by the exercise of reasonable care should be known, to be untrue or

misleading.”

       85.     Defendants engaged in a scheme of offering mislabeled containers of the Milk

Products for sale to Plaintiff and the California Subclass members by way of product packaging,

labeling, and other promotional materials. These materials misrepresented and/or omitted the true

source, content, and nature of the mislabeled Milk Products. Defendants’ advertisements and

inducements were made in California and come within the definition of advertising as contained

in Bus. & Prof. Code § 17500, et seq. in that the product packaging, labeling, and promotional

materials were intended as inducements to purchase Defendants’ Milk Products, and are statements

disseminated by Defendants to Plaintiff and the California Subclass members. Defendants knew

that these statements were unauthorized, inaccurate, and misleading.

       86.     Defendants’ Animal Welfare Claims on the labels of the Milk Products are false,

fraudulent, and misleading to a reasonable consumer because Defendants’ cows are subjected to

systematic abuse and torture.

       87.     Defendants knew or should have known, through the exercise of reasonable care

that the Milk Products were and continue to be misbranded, and that Defendants’ representations
about the Animal Welfare Claims were unauthorized, inaccurate, and misleading.

       88.     Plaintiff and the California Subclass suffered injuries caused by Defendants

because: (a) they would not have purchased the Milk Products on the same terms absent

Defendants’ illegal and misleading conduct as set forth herein, or if the true facts were known

concerning Defendants’ representations; (b) they paid a price premium for the Milk Products due

to Defendants’ misrepresentations; and (c) the Milk Products did not have the characteristics or

quantities as promised.




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                                           COUNT VII

                                       Unjust Enrichment

       89.      Plaintiff repeats the allegations contained in the paragraphs above as if fully set

forth herein.

       90.      Plaintiff brings this claim individually and on behalf of the members of the

proposed Classes against Defendants.

       91.      Plaintiff and the other members of the Class conferred benefits on Defendants by

purchasing the Milk Products.

       92.      Defendants have been unjustly enriched by retaining the revenues derived from

Plaintiff and the other members of the Class’ purchase of the Milk Products. Retention of the

monies under these circumstances is unjust and inequitable because Defendants’ labeling of the

Milk Products was misleading to consumers, which caused injuries to Plaintiff and the other

members of the Class because they would not have purchased the Milk Products if the true facts

were known.

       93.      Because Defendants’ retention of the non-gratuitous benefits conferred on them by

Plaintiff and the other members of the Class is unjust and inequitable, Defendants must pay

restitution to Plaintiff and the other members of the Class for their unjust enrichment, as ordered

by the Court.

                                        JURY DEMAND

       Plaintiff hereby demands a trial by jury.

                                   REQUEST FOR RELIEF

       WHEREFORE, Plaintiff and the other Class members respectfully request that the Court:

       A.       Certify the Classes pursuant to Rule 23 of the Federal Rules of Civil Procedure;

       B.       Award damages, including compensatory, exemplary, statutory, incidental,
                consequential, actual, and punitive damages to Plaintiff and the Classes in an
                amount to be determined at trial;




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       C.     Award Plaintiff and the Classes their expenses and costs of the suit, pre-judgment
              interest, post-judgment interest, and reasonable attorneys’ fees;

       D.     Grant restitution to Plaintiff and the Classes and require Defendants to disgorge
              their ill-gotten gains;

       E.     Permanently enjoin Defendants from engaging in the unlawful conduct set forth
              herein; and

       F.     Grant any and all such other relief as the Court deems appropriate.




Dated: June 11, 2019                                Respectfully submitted,

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                                          Counsel For Plaintiff
                                          And The Proposed Putative Classes




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